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               5
                   Attorney for Plaintiff, Daniel Nersoyan
               6

               7
                                         UNITED STATES DISTRICT COURT
               8
                          CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
               9

              10
                                                                 CASE NO. CV19-08109 SVW (MAAx)
              11    DANIEL NERSOYAN,
                                                                 Hon. Stephen V. Wilson
              12                      Plaintiff,                 PLAINTIFF’S REPLY TO
              13                                                 DEFENDANTS’ OPPOSITION TO
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                    v.                                           PLAINTIFF’S EX PARTE
              14
                    COUNTY OF LOS ANGELES, a county              AFFIDAVIT TO SUPPORT
              15                                                 CONTINUE HEARING ON
                    corporation; COUNTY OF LOS
              16    ANGELES SHERIFF’S                            MOTION FOR SUMMARY
                    DEPARTMENT, a public entity;                 JUDGEMENT; DECLARATION
              17                                                 OF MICHAEL DEVEREUX
                    SHERIFF JAMES MCDONNELL, in his
              18    official capacity and as an individual;
              19
                    DEPUTY KENNETH COLLINS,
                    individually and in his official capacity    Trial Date: January 12, 2021
              20    as a Deputy, and DOES 1 through 10,
              21
                    inclusive

              22                      Defendants.
              23

              24   TO ALL PARTIES AND THEIR RESPECTIVE ATTORNEYS OF RECORD:
              25
                         Plaintiff DANIEL NERSOYAN (“Mr. Nersoyan” or Plaintiff) hereby
              26
                   submits this reply to the Defendants’ opposition to Plaintiff counsel’s declaration in
              27

              28   support of ex parte to continue the hearing on summary judgment.
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               1     I.     COVID-19 CONCERNS HAVE SIGNFICANTLY AFFECTED THIS
               2
                                MATTER TO THE DETRIMENT OF THE PLAINTFF
               3

               4
                          This matter is a great deal different due to Covid-19 concerns, in which
               5
                   no initial status conference took place (docket #44), there was no scheduling
               6

               7   order, and a jury trial date was set with less than 120 days before trial and
               8
                   any chance for mediation was eliminated. Accordingly, a jury trial is now
               9
                   set for January 2021 during the peak of the Covid-19 crisis. More
              10

              11   importantly, the shortened discovery process has prejudiced the Plaintiff who
              12
                   is now being railroaded by a premature motion for summary judgment.
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              13
                   Plaintiff would prefer to continue the trial date for the reasons provided
              14

              15   below and set a discovery schedule. Counsel expects that the Defendants
              16
                   would oppose because in Counsel’s mind Defendants started discovery long
              17

              18
                   before they were permitted, thus violating Fed. Rul. Civ. Pro. § 26.

              19          II.   DEFENDANT’S CONTENTION THAT THEY WOULD BE
              20
                     PREJUDICED IF THE MOTION IS CONTINUED IS DUBIOUS AT BEST
              21

              22
                          Defendants are behaving as though a jury trial will proceed on
              23
                   January 12, 2021 during the peak of the Covid-19 pandemic. Such is highly
              24

              25   unlikely based upon Counsels other cases in the Central District of
              26
                   California, a criminal jury trial is unlikely to begin before April 2021. The
              27
                   expectation is that civil jury trials will begin in May or June 2021.
              28
                                                              2
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               1   Accordingly, the government defendants’ contention that they would be
               2
                   prejudiced by a continuance is without reason, unsound and absurd since it is
               3

               4   unlikely that any trial will occur in January 2021.

               5   III.   COUNSEL’S AFFIDAVIT PROVIDES GOOD CAUSE AND MERITS A
               6
                                                     CONTINUANCE
               7

               8          The law clearly states that the purpose of Rule 56(d) in granting a
               9   continuance prevents the opposing party from being “railroaded” by a premature
              10
                   motion for summary judgment. Celotex Corp. v. Catrett, 477 US 317 (1986). The
              11

              12   rule also provide a useful safety valve “against judges swinging the summary
WEXFORD LAW




              13   judgment axe too hastily.” Rivera-Torres v. Rey-Hernandez, 502 F.3d. 7, 10 (1st
              14
                   Circ. 2007).
              15

              16          Here, the Plaintiff is being railroaded by the government’s defendants by
              17   what Plaintiff considers a premature motion for summary judgment. This matter is
              18
                   a great deal different due to Covid-19 concerns, in which no initial status
              19

              20   conference took place (docket #44), there was no scheduling order, and a jury trial
              21
                   date was set in with less than 120 days before trial.
              22
                          Accordingly, Plaintiff will be harmed if summary judgement is granted
              23

              24   because he would lose at least $158,000 of his hard earned money that was
              25
                   unlawfully taken from him under the color of law by a felonious deputy in which
              26
                   the County of Los Angeles and the Los Angeles Sheriff’s Department (collectively
              27

              28
                                                              3
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               1   the “Defendants”) did little to nothing to assist the Plaintiff. Labeling the deputy a
               2
                   felon is not an opinion but a fact based upon his conviction for felonious conduct.
               3

               4                            IV.    HISTORY OF THE CASE

               5         This is a matter that was filed on September 18, 2019. Docket #1. On
               6
                   November 29, 2019, Defendants moved to dismiss the matter. Docket #18. From
               7

               8   December 13, 2019 through December 24, 2019, Plaintiff’s counsel was
               9   hospitalized with severe head/brain injuries after being attacked in Century City. At
              10
                   one point during the hospitalization, Plaintiff’s counse was close to death and had to
              11

              12   be rushed from the hospital to Cedars Sinai who was able to stabilize Plaintiff’s
WEXFORD LAW




              13   counsel. On December 23, 2019, Defendants substituted in new counsel. On
              14
                   December 30, 2019, Plaintiff’s counsel asked for a continuance due to health
              15

              16   reasons. Docket #23. That request was denied and the Court granted a dismissal
              17   for the Defendants on the very same day. Docket #27.
              18
                         On January 24, 2021, Plaintiff filed a First Amended Complaint. Docket
              19

              20   #28. Defendants filed their motion to dismiss on February 13, 2020. Docket #30.
              21
                   Because of Plaintiff counsel’s aortic heart valve replacement surgery scheduled for
              22
                   March 16, the parties stipulated to a continuing the hearing from March 16, 2020 to
              23

              24   April 20, 2020. Docket #35. The Court vacated that hearing on April 14, 2020
              25
                   and took it off calendar. Docket #37.
              26
                         On July 7, 2020, the Court ruled on the motion to dismiss granting in part and
              27

              28   denying in part. Docket #38. The Court then ordered the initial status conference
                                                              4
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               1   to September 21, 2020. Docket #40. On September 17, 2020, the Court then
               2
                   vacated the initial status conference and ordered a trial date for January 12, 2021
               3

               4   and a pretrial status conference set for January 4, 2021. Docket #44.

               5                                   V.    CONCLUSION
               6
                         For the foregoing reasons, Plaintiff respectfully requests that the Court
               7

               8   continue the hearing on the Defendant’s Motion for Summary Judgment to
               9   January 4, 2021 or later. Plaintiff would be prejudiced by a denial to the
              10
                   continuance because Plaintiff, a jeweler by trade, is set to lose $158,000 that
              11

              12   was unlawfully stolen from him under the color of law by a renegade deputy.
WEXFORD LAW




              13   That renegade deputy received more consideration from the Los Angeles
              14
                   Sheriff Department, than the victim in his matter, the Plaintiff. Moreover, the
              15

              16   Plaintiff is also requesting that this Court strongly consider moving the jury
              17   trial date until the Spring of 2021 due to Plaintiff’s health reasons and set a
              18
                   discovery schedule.
              19

              20   Dated: December 2, 2020                 WEXFORD LAW,
              21

              22
                                                               Michael S. Devereux
              23                                                    Michael S. Devereux
              24                                                   Attorney for Plaintiff
                                                                   DANIEL NERSOYAN
              25

              26

              27

              28
                                                              5
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               1   DECLARATION OF COUNSEL
               2
                         1.     I am duly admitted to practice before all courts in the State of
               3

               4   California, and before the following federal courts: the Central District of

               5   California, the Eastern District of California, the Southern District of California, the
               6
                   Northern District of California, along with the Ninth Circuit Court of Appeals. I am
               7

               8   the attorney of record in this matter. If called upon as a witness I could and would
               9   competently testify to the contents hereof.
              10
                         2.     I believe that my previous affidavit outlined good cause to continue the
              11

              12   motion for summary judgment.
WEXFORD LAW




              13         3.     I am informed and believe that Defendants violated Rule 26 by
              14
                   beginning discovery in July 2019, thus providing them a greater advantage.
              15

              16   Accordngly, Defendants are exploiting that advantage by railroading the Plaintiff
              17   with what the Plaintiff considers a premature motion for summary judgment.
              18
                         4.     I am informed and believe that a jury trial is highly unlikely to occur
              19

              20   before the Spring of 2021, thus the Defendants’ contention that they would be
              21
                   prejudiced is dubious at best.
              22
                         5.     I am informed and believe that Plaintiff would be prejudiced if the
              23

              24   continuance is not granted since Plaintiff has lost at least $158,000 through an
              25
                   unlawful seizure by a deputy under the color of law.
              26
                         6.     Based upon the deputy’s plea agreement I am informed and believe
              27

              28   that that “[o]n or about May 28, 2014, while driving his LASD patrol car, wearing
                                                              6
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               1   his LASD uniform, and possessing a firearm, defendant COLLINS conducted an
               2
                   unlawful traffic stop of a vehicle and illegally seized approximately $160,000 in
               3

               4   cash from the vehicle. Defendant COLLINS was aware, in advance of the traffic

               5   stop, that there would be a large sum of cash in the vehicle and conducted the traffic
               6
                   stop for the purpose of illegally seizing the cash. There was no reason to stop the
               7

               8   car, there was no probable cause to seize the money. (In fact, the Sheriff was not
               9   assigned to the area in which the stop took place. It was later discovered that the
              10
                   area was patroled by the LAPD.) In violation of LASD policy, defendant
              11

              12   COLLINS failed to report to LASD that he had conducted the traffic stop or seized
WEXFORD LAW




              13   any cash that day.”
              14
                         7.     I am also informed that the County of Los Angeles and the Los
              15

              16   Angeles Sheriff Department refused and failed to take any action against the
              17   deputy.
              18
                         8.     I am informed and believe that embezzling such funds has no statute of
              19

              20   limitations so there was no reason to not to prosecute deputy Collins.
              21
                         9.     I am informed and believe that by the County of Los Angeles and the
              22
                   Los Angeles Sheriff Department refusal and failure to do their job in a reasonable
              23

              24   fashion resulted in the deprivation of Plaintiff’s rights.
              25
                         10.    I am informed and believe that the Defendants retaliated against the
              26
                   Plaintiff for reporting a fellow officer, who apparently was protected by ruling class
              27

              28   privilege. Ruling class privilege, often referred by politicians by the misnomer
                                                               7
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               1   “white privilege” has nothing to do with race or the power elite but simply refers to
               2
                   the small class of people with local political power, typically found at the state and
               3

               4   county levels. Those in the ruling class, such as Defendant Deputy Collins, are

               5   generally absolved of any wrongful conduct due to the fact that the ruling class
               6
                   police themselves. (The federal level is built upon checks and balances, a system
               7

               8   that hinders the type of privilege found at the local level.) Deputy Collins unlawful
               9   conduct was noticed and prosecuted not by the ruling class, but through the Federal
              10
                   Bureau of Investigation. The County was notifed of the conduct but refused and
              11

              12   failed to prosecute. Without intervention at the federal level, Deputy Collins would
WEXFORD LAW




              13   still be on the street today as a rogue deputy and his unlawful conduct would be
              14
                   protected by the County as it was in this case.
              15

              16         11.     Plaintiff’s health issues make him an at risk person. Plaintiff suffers
              17   from diabetes, multiple sclerosis, and other conditions. Thus it would be desirable
              18
                   to continue the jury trial date along with setting a discovery schedule.
              19

              20         12.     Counsel was apparently mistaken of when discovery could begin,
              21
                   therefore believing that discovery could not begin before the initial status
              22
                   conference.
              23

              24         13.     Thus counsel was waiting for the schedule to be determined (at the
              25
                   initial status conference) before propounding discovery.
              26
                         14.     Within days of receiving notice that the initial status conference was
              27

              28   vacated, counsel did propound discovery.
                                                               8
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               1         15.      Currently, Counsel has depositions set for December 15, 2020,
               2
                   December 17, 2020 and December 21, 2020. Counsel tried to set these depositions
               3

               4   in November, but conflicts kept such from happening.

               5         16.      Counsel does intend to propound discovery to Defendant Collins but
               6
                   first was waiting to complete the depositions.
               7

               8         17.      Plaintiff counsel’s health issues appear to be resolved. Plaintiff
               9   counsel was recently informed that he first suffered a stroke before the filing of the
              10
                   September 2019 complaint. Counsel had no noticeable deficiencies other than
              11

              12   fatigue and not sleeping through the night.
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              13               a. Counsel first realized that he suffered a stroke in October 2019, when
              14
                                  he had a heart attack and a stroke while golfing. Counsel was
              15

              16                  informed in October 2019, that he had a birth defect, that his aorta
              17                  valve was bicuspid. Counsel was informed that he had six months to
              18
                                  live if he didn’t have surgery to replace the aorta valve. Counsel was
              19

              20                  too weak in October for surgery so surgery was planned for January
              21
                                  2020.
              22
                               b. Throughout November 2019, Counsel suffered another setback of heart
              23

              24                  attacks and strokes.
              25
                               c. On December 13, 2019, Counsel was attacked in Century City.
              26
                                  Doctors believe that the stress from the attack led to the brain seizure.
              27

              28
                                                                9
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                1               d. Despite having a flu shot, Counsel had the flu throughout January and
                2
                                   into February. Therefore Counsel was too weak for heart surgery.
                3

                4               e. Counsel had the aortic valve replaced in March. It took months to

                5                  recuperate.
                6
                                f. Counsel had additional heart surgery in June.
                7

                8         18.      Plaintiff is respectfully requesting that this Court continue the trial date
                9   and the date for the motion for summary judgment, along with a discovery
               10
                    schedule.
               11

               12   I declare the foregoing to be true and correct under the penalty of perjury.
WEXFORD LAW




               13   EXECUTED on December 2, 2020, at Beverly Hills, California.
               14

               15                                                      Michael Devereux
               16                                                         Michael Devereux

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                                                                 10
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